Case 1:20-mj-02541-TMD Document 8 Filed 11/13/20 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN THE MATTER OF A COMPLAINT Case No. 20-2541 TMD
AND ARREST WARRANT FOR JAMES | UNDER SEAL
IAN PICCIRILLI
IN THE MATTER OF A COMPLAINT Case No. 20-2542 TMD
AND ARREST WARRANT FOR KELLIE | UNDER SEAL
NICOLE WARFIELD

MOTION TO UNSEAL CRIMINAL COMPLAINTS

The United States of America moves this Honorable Court to order that the Criminal

 

 

Complaints in the above-captioned cases be partially unsealed and that the Court make public the
attached redacted affidavit, which redacts personal | identifying information concerning the
defendants and the non-party persons identified throughout the affidavit.

Respectfully submitted,

Robert K. Hur
United States Attorney

 

—_— _. ENTERED
——— (oaceo___—_ RECENED .
ee Brandon K. Moore
NOV 13 2020 Patticia C. McLane

Assistant United States Attorneys

AT BALTIMORE - our
‘U.S. DISTRICT C
Chee RICT OF MARYLAND

BY

 

It is this _13 day of November, 2020, ORDERED that the Criminal Complaints in the

above-captioned cases be partially unsealed. |

| 7:
Hon. Thomas M. DiGirolamo
United States Magistrate Judge

 
